    Case: 3:19-cv-00117-RAM-RM Document #: 81-1 Filed: 07/13/21 Page 1 of 8




                       DISTRICT COURT OF THE U.S. VIRGIN ISLANDS
                         DIVISION OF ST. THOMAS & ST. JOHN

John St. Rose, Monrose Loctar, and                    Case No. 3:19-cv-00117
Derrick James, individually and on
behalf of all others similarly situated,              Jury Trial Demanded

         Plaintiffs                                   Putative Class Action

    v.

Spartan Concrete Products, LLC, and
Warren Mosler

         Defendants.


               PLAINTIFF’S RESPONSE TO DEFENDANTS’ STATEMENT
                        OF UNDISPUTED MATERIAL ACTS

         Plaintiff Monrose Loctar responds to defendants Spartan Concrete Products, LLC and Warren

Mosler’s statement of undisputed material facts as follows:

         SUMF 1.         Monrose Loctar claims he purchased ready mix concrete from Spartan on July

7, 2015. See Exhibit A, Monrose Loctar’s Responses to Interrogatories, at response to Interrogatory 2

(page 3).

         Response.       Admitted.

         SUMF 2.         Loctar also claims he purchased concrete from Heavy Materials and Mark 21

but “[h]e cannot recall any particular dates, purchases, volume purchased, price per cubic yard, or

purchase price (initial or paid).” See Exhibit A at response to Interrogatory 2 (page 3).

         Response.       Plaintiff objects to SUMF 3 as it is not material to resolution of the motion

because Plaintiff does not contend that he purchased RMC from Heavy Materials or Mark 21 during

the Class Period. Notwithstanding the materiality objection, the statement is admitted.

         SUMF 3.         Loctar does not have any documents or other evidence of any purchases from

Heavy Materials or Mark 21. See Exhibit B, Plaintiff Monrose Loctar’s First Supplemental Responses
    Case: 3:19-cv-00117-RAM-RM Document #: 81-1 Filed: 07/13/21 Page 2 of 8




to Defendants’ First Set of Requests for Production, at response to RFP No. 2 (page 1) and Exhibit

C, Loctar Depo Transcript, at 44:3-16; 17:13-20.

        Response.       Plaintiff objects to SUMF 3 as it is not material to resolution of the motion

because Plaintiff does not contend that he purchased RMC from Heavy Materials or Mark 21 during

the Class Period. Notwithstanding the materiality objection, the statement is admitted.

        SUMF 4.         Loctar does not have any documents or other evidence of his July 2015

purchase from Spartan. See Exhibit B at response to RFP No. 2 (page 1) and Exhibit C at 44:3-16.

        Response.       Denied. Plaintiff’s purchase of RMC from Spartan in July 2015 is evidenced in

Spartan’s own records. See Counter-SUMF 1.

        SUMF 5.         Loctar confirmed that he considers both price and service when purchasing

ready-mix, but “price is always better” than service, meaning price is the more important factor. See

Exhibit C at 29:1-13.

        Response.       Plaintiff objects to SUMF 5 as immaterial to resolution of the motion. Whether

Plaintiff believes prices is more important does not factor into the fraudulent concealment analysis.

Notwithstanding the materiality objection, the statement is admitted.

        SUMF 6.         Loctar testified that during the class period, from December 2013 to October

2015, he observed the price of ready-mix concrete “jump up” from “about . . .130-something” “to a

hundred and seventy-something”. See Exhibit C at 25:14-20.

        Response.       Admitted.

        SUMF 7.         Although he could not recall the price he paid for the ready-mix he purchased

from Spartan in July 2015, he thought the price was high and he believed the reason the price was so

high was because Spartan was the only concrete company on island at that time. Exhibit C at 25:24-

26:4.

        Response.       Admitted.


                                                   2
    Case: 3:19-cv-00117-RAM-RM Document #: 81-1 Filed: 07/13/21 Page 3 of 8




       SUMF 8.         Later in his testimony, after being shown his response to Spartan’s

Interrogatory 2, wherein Loctar responded he paid One Hundred Seventy-One Dollars ($171.00) per

cubic yard for the ready-mix he purchased from Spartan on July 7, 2015, Loctar said that his written

response to Spartan’s Interrogatory seemed accurate. See Exhibit C at 42:5-43:5 and Exhibit A at

response to Interrogatory 2 (page 3).

       Response.       Admitted.

       SUMF 9.         He again confirmed that when he purchased ready-mix from Spartan in July

2015, he thought the price was high. See Exhibit C at 42:5-44:2.

       Response.       Admitted.

       SUMF 10.        Before Loctar purchased ready-mix from Spartan in July 2015, he had heard

of an agreement between Spartan and Heavy Materials wherein “Spartan bought Heavy Materials, shut

them down, and then jack up the price on us.” See Exhibit C at 31:22-32:25.

       Response.       Admitted.

       SUMF 11.        Loctar further elaborated, “He bought his competition.” See Exhibit C at

31:22-32:25.

       Response.       Admitted.

       SUMF 12.        Loctar and other purchasers of ready-mix who were also friends of Loctar’s

complained amongst themselves about the price of ready-mix and about the alleged agreement

between Spartan and Heavy Materials. See Exhibit C at 33:3-15.

       Response.       Admitted.

       SUMF 13.        “[W]e complain all the time about the price”, Loctar testified. See Exhibit C at

33:3-12.

       Response.       Admitted.




                                                  3
    Case: 3:19-cv-00117-RAM-RM Document #: 81-1 Filed: 07/13/21 Page 4 of 8




        SUMF 14.         One of those other purchasers was Plaintiff Derrick James, who has requested

to be dismissed from this action. See Exhibit C at 33:23-34:12.

        Response.        Admitted.

        SUMF 15.         Loctar and James discussed the alleged agreement between Spartan and Heavy

Materials and the price of ready-mix concrete. See Exhibit C at 33:23-34:12.

        Response.        Denied. Mr. Loctar did not testify that he and Mr. James “discussed the alleged

agreement” that’s the basis for the First Amended Complaint. Rather, Mr. Loctar testified (i) he had

heard rumors that Spartan acquired Heavy Materials, and (ii) he and Mr. James recently discussed this

action and their recollection that prices were high.

        SUMF 16.         In the companion Superior Court action, Judge Molloy found that the Virgin

Islands Anti-Monopoly Law is different than the federal statute in that the Virgin Islands Anti-

Monopoly Law does not contain any provision for liability of directors and agents of a corporation.

See Exhibit D, Transcript of October 22, 2019 Hearing, at 59-61.

        Response.        Plaintiff objects to the statement as Judge Molloy’s finding is not material to

resolution of the motion because Plaintiff does not bring Count 2 against Mr. Mosler. In any event,

the statement is denied because it incorrectly describes Judge Molloy’s finding. Territorial law is not

different from the federal law because it “does not contain any provisions for liability of directors and

agents”. Neither federal nor territorial law contains such a provision.

        SUMF 17.         During his deposition, however, Loctar testified that he does not know what

the Requirements Supply Agreement is. See Exhibit C at 31:22-32:2.

        Response.        Denied. In response to the question, “Have you heard of a requirement supply

agreement?” (italics added), Mr. Loctar responded, “Not aware of what it is, no.” He was not asked

about the Requirements Supply Agreement, nor was the Requirements Supply Agreement shown to

Mr. Loctar to confirm.


                                                   4
    Case: 3:19-cv-00117-RAM-RM Document #: 81-1 Filed: 07/13/21 Page 5 of 8




        SUMF 18.        As far as Loctar knows, none of the people he spoke with took any action or

made any complaint about the increase in the price of ready-mix. See Exhibit C at 44:17-45:5.

        Response.       Admitted.

        SUMF 19.        Loctar failed to undertake any kind of investigation into his claims at any point

in time. See Exhibit A at response to Interrogatory 12 (pages 5-6) (stating that “Plaintiff ha[s] not

“claim[e]d that [he] personally exercised diligence in investigating the claims [he] bring[s] in [this]

action”.) and response to Interrogatory 11 (stating that Loctar “was not obligated to investigate his

causes of action in the absence of ‘red flags’. As alleged in the First Amended Complaint, there were

no such red flags.”).

        Response.       Plaintiff objects to the verb “failed”. He was not obliged to investigate his

potential claims in the absence of “red flags”, of which there were none prior to at last November 17,

2016. Plaintiff further objects to the phrase “at any point in time”. The relevant window is limited to

the time between when Plaintiff’s cause of action accrued (June 7, 2015) and four years prior to the

filing of suit (December 12, 2015). Moreover, neither interrogatory response supports Defendants’

conclusion that Plaintiff took no investigation at any point in time.

                                                 *****

        Plaintiff offers the following counter-statement of undisputed material facts as follows:

        Counter 1.      Plaintiff purchased RMC from Spartan on July 7, 2015. Exhibit 1 (summary

exhibit of 2015 Sales by Customer Detail.csv produced by Defendants in native format, at lines 1 &

4944–48; with original columns D, E & F deleted for space).

        Counter 2.      In the Spartan v. Argos action, Argos moved for leave to amend to amend its

answer on November 17, 2016. (Plaintiff asks the Court to take judicial notice of ECF 115, Case No.

3:15-cv-00004.)




                                                   5
    Case: 3:19-cv-00117-RAM-RM Document #: 81-1 Filed: 07/13/21 Page 6 of 8




        Counter 3.      Trial of the Argos action took place on July 17 and 18, 2017. (Plaintiffs ask the

Court to take judicial notice of its calendar.)

        Counter 4.      The first putative class action was filed in the Superior Court on the December

12, 2017. See ECF 24 (Defendants’ motion to dismiss), p. 2. (“The first lawsuit was filed on December

12, 2017 in the Superior Court of the Virgin Island . . . .” (footnote omitted)).

        Counter 5.      This action was filed on December 12, 2019. See ECF 1.

        Counter 6.      Four years before the date this action was filed is December 12, 2015. (Plaintiff

asks the Court to take judicial notice of the calendar.)

        Counter 7.      When Mr. Loctar purchased RMC from Spartan on July 7, 2015, he believed

that prices were high because Spartan was the only producer of RMC on St. Croix at the time. ECF

80-3, p. 5, ll. 2–4.

        Counter 8.      Mr. Loctar believed that Spartan was the only producer because it acquired

Heavy Materials. See ECF 80-3, p. 8, ll. 5–15.

        Counter 9.      Spartan had not acquired Heavy Materials as Mr. Loctar believed. Exhibits 2

& 3.

        Counter 10.     Mr. Loctar was not aware of the agreement between Spartan and Heavy

Materials to divide the market for RMC by island prior to the summer of 2019. Exhibit 4 (Declaration

of M. Loctar); ECF 80-3, p. 8, ll. 23–25.

        Counter 11.     Mr. Loctar is familiar with the Requirement Supply Agreement, but he

misunderstood Defendants’ sole question about the agreement at his deposition. Exhibit 4

(Declaration of M. Loctar).

        Counter 12.     The parties added a confidentiality provision to the Assignment of Lease at

the request of Warren Mosler. Exhibit 5 (HM-GILBERT-001704).




                                                    6
   Case: 3:19-cv-00117-RAM-RM Document #: 81-1 Filed: 07/13/21 Page 7 of 8




Dated: July 13, 2021               Respectfully submitted,



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                                      7
   Case: 3:19-cv-00117-RAM-RM Document #: 81-1 Filed: 07/13/21 Page 8 of 8




                                CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that a true and correct copy of the foregoing
was served on the following individuals on this 13th day of July via CM/ECF:

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                                                8
